     Case 2:05-cr-02094-LRS    ECF No. 118   filed 10/31/05   PageID.254 Page 1 of 2




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 4
 5                             UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7    UNITED STATES OF AMERICA,       )
                                      )   NO. CR-05-2094-LRS-3
 8                                    )
                     Plaintiff,       )   ORDER ON DETENTION
 9                                    )   REVIEW HEARING
           v.                         )
10                                    )
      SALVADOR C. MENDOZA             )
11                                    )
                     Defendant.       )
12                                    )
          A detention review hearing was held October 31, 2005.                  James
13
     Hagarty, Esq., appeared for the government.                Defendant was present
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     with counsel Kenneth Therrien, Esq.
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           On the issue of detention, the government argued that the
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     circumstances remain the same and, if released, defendant would
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     present a high risk of flight and a danger to the community.
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           The defendant requested release on his own recognizance or
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     minimal bail.
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           The Court noted that nothing presented at today’s hearing
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     offset his previous decision and pursuant to 18 USC § 3143, this
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     Court finds by clear and convincing evidence that the defendant is
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     likely to flee, and further, that the evidence is clear and
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     convincing that there are no conditions that could be imposed
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     which would protect community safety.
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           IT IS ORDERED that defendant’s motion to reconsider is
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     denied. (Ct Rec. 113)
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     ORDER ON DETENTION - 1
     REVIEW HEARING
     Case 2:05-cr-02094-LRS   ECF No. 118   filed 10/31/05   PageID.255 Page 2 of 2




 1         IT IS FURTHER ORDERED:
 2         1.    Defendant shall continue to be held in detention pending
 3   disposition of this case or until further order of the court.
 4       DATED this 31st day of October, 2005.
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                                                     s/Michael W. Leavitt
 7                                                   MICHAEL W. LEAVITT
                                               United States Magistrate Judge
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     ORDER ON DETENTION - 2
     REVIEW HEARING
